Case 4:13-cv-00121-SWW Document 25-4

Saline County - Cad Dispatch

Public Safety Record: Call For Service

PSR Id

Current PSR Status
Cail Information
Location

Call Type

Call Priority

Map Coordinates
Caller

Caller Address
Caller State
Caller Phone
Scene City
Scene Zip

Origin Address
Origin State
Origin Phone
P.S. Request NO

Entry Date 10/09/2011
Date Completed 10/09/2011
Call Method

Base

Dispatch Time 00:03:47
Ack/Enroute Time 00:03:47
Arrived Time 00:06:48
Departed Status

Transport Arrival

End. Mileage

Confirmation Type

Reference

Age

BRYANT
72022

4/5/2013

167 16-11

Completed

Filed 01/03/14

13523 SW 2ND ST ,BRYANT ,AR 72022

Type Description
District/Zone
MAPSCO Coor.
Contact Name
Caller City
Caller Zip
Scene Address
Scene State
Scene Phone
Origin City
Origin Zip
911/RPO
Contact Req?
Entry Time
Time Completed
Call Taker
Personnel
Dispatcher
Enroute Status
Departed Time
Destination
Beg. Mileage
Finished
Disposition
Type

Gender

/

13523 SW 2ND ST
AR

NO
00:03:43
00:16:20
YATES

YATES

00:16:20

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Saline County - Cad Dispatch
Public Safety Record: Call For Service
PSR 1D: 16716-11
. Service Unit CFS
Unit(s) Officer Name For Unit Number Status
203 WATSON, JEFFREY 2011-1587 Cc
206 BLANKENSHIP, TIM 2011-1587 Cc
638 BABBITT,PAUL 2011-10628 C
743 ODOM, JERRY 2011-10628 C
634 GREEN,TIM 2011-10628 C
Disposition Notes
4/5/2013 Page 2 of 4
Filed 01/03/14

Case 4:13-cv-00121-SWW Document 25-4 Page 3 of 4
Saline County - Cad Dispatch
Public Safety Record: Cali For Service
PSR ID: 16716-11
. Call
Time [From |To Traffic Officer
Code

00:03:43IBASE

ao IENROUTE PSR#16716-11 :13523 SW 2ND
00:03 :47203 ASE10-96 ST BRYANT .AR 72022 WATSON, JEFFREY
00:06:482203 |[BASE}10-97 [ARRIVED WATSON, JEFFREY

At. ENROUTE PSR#16716-11 213523 SW 2ND
00:07:34206 |IBASE|10-96 ST BRYANT .AR 72022 IBLANKENSHIP,TIM

ag. IENROUTE PSR#16716-11 :13523 SW 2ND
00:08:241638 |BASE10-96 ST BRYANT AR 72022 BABBITT,PAUL

ng. ENROUTE PSR#16716-11 :13523 SW 2ND
00:08:45]743  |BASE10-96 ST BRYANT .AR 72022 ODOM,JERRY

AG. ENROUTE PSR#16716-11 :13523 SW 2ND
00:09:101634 |BASE0-96 ST BRYANT .AR 72022 GREEN, TIM
00:09:25206 JBASE10-97 JARRIVED BLANKENSHIP, TIM
00:14:14]743 IBASE 10-98 ODOM,JERRY
00:14:23638 [BASEF}10-98 IBABBITT,PAUL
00:14:26/634 |BASE10-98 GREEN, TIM
00:15:40203  [BASEIGT GENERAL TRAFFIC: REQ BACK UP WATSON, JEFFREY

115: 4 GENERAL TRAFFIC: 22 COUNTY UNITS
00:135:47203 |BASEIGT EVERYTHING IS 10-50 WATSON JEFFREY
00:16:16)203 |BASE]10-98 COMPLETED WATSON JEFFREY
00:16:2072206 |BASE|10-98 |COMPLETED IBLANKENSHIP,TIM
4/5/2013 Page 3 of 4
Case 4:13-cv-00121-SWW = Document 25-4__— Filed 01/03/14 Page 4of4

Saline County - Cad Dispatch
Public Safety Record: Call For Service
PSR ID: 16716-11

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